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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

    GREGORY AND REBEKAH                            ::   CASE NO.: 2:22-CV-04266
    BOWE,                                          ::
           Plaintiffs,                             ::   CHIEF JUDGE ALGENON L.
                                                   ::   MARBLEY
    - vs -                                         ::
                                                   ::   MAGISTRATE JUDGE
    SUNLIGHT FINANCIAL, LLC, et                    ::   ELIZABETH PRESTON DEAVERS
    al.,                                           ::
                                                   ::
                 Defendants.                       ::



                PLAINTIFFS’ MEMORANDUM IN SUPPORT
 OF PLAINTIFFS’ MOTION TO CONDUCT LIMITED DISCOVERY ON WHETHER
THE ARBITRATION PROVISIONS AT ISSUE IN THIS MATTER ARE ENFORCEABLE


     I.      BACKGROUND

                 In their Complaint, Plaintiffs1 brought, among other claims, declaratory judgment

actions requesting this Court find the arbitration provision in the loan agreement unconscionable or

otherwise borne of fraud. To support their claims, Plaintiffs asserted that Sunlight Financial’s2 agent

failed to explain the terms of the loan agreements, including the arbitration provisions contained in

the agreements. See Plaintiffs’ Complaint at Paragraphs 55-61. Plaintiffs further asserted that Sunlight

Financial obtained Plaintiffs’ signatures in a fraudulent manner by, among other ways: (1) making

the loan agreements only visible on each of the agent’s electronic device and failing to allow Plaintiffs

to read the agreement before signing the agreement; (2) having the agents scroll through the portions


1
 “Plaintiffs” collectively refers to the Plaintiffs listed in the above-referenced Memorandum in
Support.
2
    “Sunlight Financial” refers to Defendant, Sunlight Financial, LLC d/b/a Sunlight Financial.
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of the agreement at a fast rate while giving an inaccurate summary of the agreement; and (3) auto-

filling Plaintiffs’ signatures on the agreement instead of having them read, understand, and sign each

portion of the individual agreement, as Sunlight Financial has incorrectly alleged. Id;

           Despite these allegations, and without submitting any evidence that the Arbitration

 agreement was entered into legitimately, Sunlight Financial submitted its Motion to Dismiss to

 Compel Arbitration in each of the consolidated cases. This request should be denied.

 II.   LAW AND ARGUMENT

               Courts within the Sixth Circuit apply the summary judgment standard when ruling on

motions to compel arbitration. As such, Courts in the Sixth Circuit will look to Fed. R. Civ. P. 56(d)

for guidance when asked to permit limited discovery. Palmer v. Mary Jane M. Elliot, P.C., E.D.Mich.

No. 20-13209, 2021 U.S. Dist. LEXIS 80254 (Apr. 27, 2021)(citing Great Earth Companies, Inc. v.

Simons, 288 F.3d 878, 889 (6th Cir. 2002)). Fed. R. Civ. P. 56(d) provides:

               If a nonmovant shows by affidavit or declaration that, for specified
               reasons, it cannot present facts essential to justify its opposition, the
               court may:

               (1) defer considering the motion or deny it;
               (2) allow time to obtain affidavits or declarations or to take discovery;
               or
               (3) issue any other appropriate order.

               Therefore, where a party requests discovery to prove a genuine dispute exists as to

whether an arbitration clause is valid, a court can grant limited discovery on the issue. See Palmer, at

*4 (citing 9 U.S.C. 4) (“As to whether [the plaintiff] can prove that a genuine dispute exists as to

[whether an arbitration clause can be validly enforced], she reasonably argues that she needs to take

discovery because she lacks access to the document and witnesses necessary to prove her position.”).
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                Plaintiffs submit that Pink Energy3 and Sunlight Financial are in possession of

information demonstrating the unconscionability of the arbitration provision at issue in this case and

information demonstrating a failure of the parties to come to a meeting of the minds on the arbitration

provision, which was borne of fraud. See Affidavit of Stacie L. Roth, attached herewith and

incorporated herein as Exhibit A, which is referred to hereinafter as the “Attorney Affidavit.” This

information includes, but is not limited to, emails and recordings, knowledge of the unconscionable

sales practices employed by each company, the testimony of the sales representatives that pressured

the Plaintiffs to sign sales and loan agreements, and data/recordings contained on the electronic

devices that the sale representatives used to control how Plaintiffs’ signatures were auto-filled

throughout the agreement. See Attorney Affidavit.

                The only way to obtain this information is via limited discovery. If permitted,

Plaintiffs will issue limited discovery requests seeking the sales practices that Sunlight Financial and

Pink Energy employed and documents concerning the signing of the sales and loan agreements at

issue in this case. Moreover, Plaintiffs will depose: (1) the salespersons from Pink Energy/Sunlight

Financial; and (2) corporate representatives of Pink Energy/Sunlight Financial who have knowledge

of the sales and signing practices that were regularly employed at the time Plaintiffs signed the sales

and loan agreements. These depositions will be limited to the issue of sales practices and signing

procedures both generally employed by these companies and employed in the instant matters.

                While Plaintiffs believe that Sunlight Financial is in possession of relevant

information it is anticipated that Sunlight Financial will suggest it has no relevant documents to offer

in limited discovery. If Sunlight Financial truly has nothing to discover on the issue of whether the

arbitration clauses at issue were validly entered into, then it should be prohibited from requesting



3
    “Pink Energy” refers to Defendant, Power Home Solar, LLC d/b/a Pink Energy, LLC.
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dismissal. This Court should deny Sunlight Financial’s requests to enforce arbitration. Otherwise,

Plaintiffs should be permitted to conduct their requested, limited discovery. If Sunlight Financial is

confident that the Loan Agreement was not borne of fraud, it should gladly welcome the opportunity

to have its agents deposed.

III.   CONCLUSION

               For the reasons stated above, Plaintiffs respectfully request that this Court grant

limited discovery and permit the parties to file supplemental briefs, following limited discovery, on

whether the arbitration provision in the loan agreement is valid and enforceable.



                                               Respectfully submitted,

                                               /s/ Stacie L. Roth
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